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           IN THE UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF FLORIDA
                   TALLAHASSEE DIVISION


ANDREW H. WARREN,

                    Plaintiff,                 Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________


                  DEFENDANT’S OBJECTIONS TO
        PLAINTIFF’S RULE 26(a)(3)(A) PRETRIAL DISCLOSURES

      Pursuant to Rule 26(a)(3)(B) of the Federal Rules of Civil Procedure and

the Court’s Scheduling Order (ECF No. 69), Defendant Governor Ron DeSantis

makes the following objections to Plaintiff Andrew Warren’s Pretrial Disclosures.

      i. Witnesses.

      Defendant reserves the right to object to any witness not named by Plaintiff

in his Rule 26(a)(3)(A)(i) disclosures, and reserves the right to object to the improper

testimony of any witness, whether presented through testimony at trial or through

deposition designation.




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      ii. Objections to Designation of Deposition Testimony.

      Defendant reserves the right to object to the deposition designation of any

witness not named by Plaintiff in his Rule 26(a)(3)(A)(ii) disclosures. Defendant

objects to the testimony of any witness being presented by deposition designation

where that witness has testified at trial. Additionally, Defendant objects to the

testimony of any witness who has testified at trial from subsequently being presented

by deposition designation. This objection does not include the use of depositions

for proper impeachment purposes.

      iii. Objections to Exhibits.

      Defendant’s objections to Plaintiff’s Rule 26(a)(3)(A)(iii) disclosures are set

forth in the Parties’ Pretrial Stipulation (ECF No. 123, p. 21-28), and are

incorporated by reference.

                   Respectfully submitted this 22nd day of November 2022.

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                        CERTIFICATE OF SERVICE
      I hereby certify that on November 22, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via email, as follows:

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